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                                  UN ITED STATES D ISTRICT CO IJR T
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                                   CASE N O .16-CR-20267-W 1LLlAM S

  UNITED STA TES OF AM ERICA,

  V.

  AR IEL NUN EZ FINA LET,

                   Defendant.
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                                           FA CTU M ,PRO FFER

              The United States ofAm erica and the defendant,A rielN unez Finalet,agree thathad this

       casegoneto trial,theU nited Stateswould haveproven,beyond areasonable doubt,the follow ing

       facts,amongothers,pertainingtoaviolation of18U.S.C.j1349,conspiracy tocommithealth
       care fraud and w ire fraud,thatoccurred in the Southern DistrictofFlorida.

              The M edicare program w as a federally funded program thatprovided free or below -cost

       health care benefitsto certain individuals,prim arily the elderly,blind,and disabled. M edicare

       wasa(thealthcarebenefitprogram,''asdefinedby Title18,United StatesCode,Section 24(b).
       M edicare program s covering differenttypes of benefits w ere separated into different program

       Ss
        partst'' M edicare Gçpart D'' subsidized the costs of prescription drugs that were m edically

       necessary. M edicareprohibited the subm ission ofclaim sprocured through thepaym entofillegal

       kickbacksand bribes.

              Beginning in oraround January 2011and continuing through in oraround Septem ber2014,

       in M iam i-Dade County, in the Southern D istrict of Florida, and elsew here, the defendant

       know ingly and w illfully conspired w ith Pedro Torres,Antonio H evia,and others,to com m ithealth

       care fraud and wire fraud. The purpose of the conspiracy w as for the defendant and his co-
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ti       -




                 conspiratorsto(a)submitandcausethesubmission offalseand fraudulentclaimstohealthcare
                 benefitprogram s forprescription drugsthat were not m edically unnecessary ornotprovided to

                 M edicarebeneficiaries;(b)concealingandcausingtheconcealmentoffalseandfraudulentclaims
                 toMedicare and thereceiptandtransferofproceeds;and (c)diveding fraudproceedsfortheir
                 personaluse and benetit,the use and benefitofothers,and to furtherthe fraud.

                        The schem e involved at leastten pharm acies subm itting fraudulent claim s to M edicare,

                 which in t'urn paid the pharm acies for m edications thatw ere not m edically necessary and not

                 provided to beneficiaries. The pharm acies'M edicare subm issions triggered w ires in interstate   '
     .           com m erce. The defendantand otherpharm acy ownersw orked w ith other individualsltnow n as

                 Eirecruiters'?toGndMedicarebeneficiaries(patientsenrolledwithMedicare)willingtoparticipate
                 in theschem e. Thebeneficiariesparticipated and visited thepharm aciesin exchange forunlawful

                 paym ents or <tkickbacks,''w hich Hevia,Torres,and others paid to recruiters and belw tk iaries

                 using M edicareproceeds ofthe schem e.

                        ThedefendantwastheregisteredagentofLilyandRosyPhanuacyDiscountCorp.(Gtily
             '
                 Pharmacy''),located inHialeah,Florida. ThetrueownersofLilyPharmacyand leadersofthe
                 schem e were A ntonio Hevia and Pedro Torres. The defendant cashed checks and w ithdrew

                 m oney from Lil# Pharmacy'sbank accountto giveto co-conspiratorsand recruitersso thatthey

                 could pay kickbacksto beneficiaries. The defendantwithdrew the money in incrementsjust                 .
                 below $10,000(thelegalreportinglimitforU.S.banks)eachweek so kickbackscouldbepaid.
                 Forinstance,onNovember20,2012,thedefendantwithdrew $9,000in cashfrom LilyPharmacy's
                 bank account. The defendantalso paid recruiters to bring beneficiaries to A zulPharm acy Corp.

                 rçAzulPharmac/').




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             The defendant and his co-conspirators, through Lily Pharm acy and A zul Pharm acy,

    knowingly andwillfullycaused M edicaretopayapproximately $1,910,222infalseandfraudulent
    claim s for prescription drugs thatw ere not m edically unnecessary or notprovided to M edicare

    beneficiaries. Ofthatamount,thedefendantobtained personally approximately $522,01l.
             The inform ation contained in thisprofferis nota com plete recitation ofa11the facts and

    circum stancesofthiscase,.
                             buttheparties adm ititissufficientto provebeyond areasonable doubt

    aviolationof18U.S.C.j1349,conspiracytocommithealthcarefraudandwirefraud,ascharged
    in the lndictm ent.

                                                 M ARK ENZY LAPOINTE
                                                 UNITED STATES A U ORNEY


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